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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MIKE DOBINA, on behalf of himself and all   11 Civ. 01646-DLC
others similarly situated,

                    Plaintiff,

vs.

WEATHERFORD INTERNATIONAL LTD.,
BERNARD J. DUROC-DANNER, ANDREW
P. BECNEL, JESSICA ABARCA and
CHARLES E. GEER, JR.,

                    Defendants.



  THE PUBLIC RETIREMENT SYSTEMS’ MOTION FOR RECONSIDERATION OF
       THE COURT’S DECISION APPOINTING AFME LEAD PLAINTIFF
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       Class members and lead plaintiff movants Fulton County Employees’ Retirement

System, City of Grand Rapids General Retirement System, City of Grand Rapids Police & Fire

Retirement System and the Fort Worth Employees’ Retirement Fund (collectively, the “Public

Retirement Systems”), by and through its counsel, respectfully moves this Court for

reconsideration of the June 27, 2011 order appointing the American Federation of Musicians and

Employers’ Pension Fund lead plaintiff pursuant to Federal Rule of Civil Procedure 59(e) and

Southern District of New York Local Rule 6.3.
       This motion for reconsideration is supported by the accompanying Memorandum of Law

in Support of the Motion for Reconsideration of the Court’s Decision Appointing AFME Lead

Plaintiff, and the exhibits attached thereto; all of the prior pleadings and proceedings filed herein;

arguments made at the June 24, 2011 hearing; and such other written and/or oral argument as

may be presented to the Court.

 DATED: June 27, 2011                                 SCOTT+SCOTT LLP

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                                                      Counsel For Proposed Lead Plaintiff
                                                      Public Retirement Systems



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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2011, I caused the foregoing to be electronically filed

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the e-mail addresses denoted on the Electronic Mail Notice List, and I hereby certify that I

caused the foregoing document or paper to be mailed via the United States Postal Service to the

non-CM/ECF participants indicated on the Manual Notice List.

       I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on June 27, 2011.


                                                   /s/ Mary K. Blasy
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